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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

 

 

MARSHALL DIVISION

ALFONSO CIOFFI, an individual,
MEGAN ROZMAN, an individual,
MELANIE ROZMAN, an individual, and
MORGAN ROZMAN, an individual, Civil Action No. 2:13-cv-103

Plaintiffs, JURY TRIAL REQUESTED

vs. |

GOOGLE INC.,

Defendant.

VERDICT FORM -

In answering the following questions and filling out this Verdict Form, you are to follow
ali of the instructions I have given you in the Court’s charge. Your answer to each question must
be unanimous. Some of the questions contain legal terms that are defined and explained in detail
in the Jury Instructions Please refer to the Jury Instructions if you are unsure about the meaning
or usage of any legal term that appears in the questions below.

As used herein, “Plaintiffs” means Plaintiffs Alfonso Cioffi, Megan Rozman, Melanie:
Rozman, and Morgan Rozman. As used herein, “Defendant” means Defendant Google Inc.

As used herein, “Patents-in-Suit” means: U.S. Patent No. RE43,500 (7500 Patent); U.S.

Patent No. RE43,528 (’528 Patent); and U.S. Patent No. RE43,529 (529 Patent).

 
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**NOTE: YOU MUST ANSWER QUESTION 1 **

QUESTION 1: Infringement

Did Plaintiffs prove by a preponderance of the evidence that Defendant infringed the following
claims of the Patents-in-Suit?

Check “Yes” or “No” for each listed claim in the space provided.

_ Yes” is a finding for Plaintiffs; “No” is a finding for Defendant)

*500 Patent So
Claim 43: Yes No

*528 Patent

Claim 5: Yes _“_ No

Claim 67: Yes “a No

529 Patent 4
Claim 49: Yes No

 

If you answered “No” to all of the above questions, you should not answer any further —
questions, and in that case, your foreperson should date and sign the last page of this verdict
form, and you should notify the Court Security Officer that you have reached a verdict. If
you answered “Yes” to any of the above questions, proceed and answer the next question as
directed.

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** ANSWER THIS NEXT QUESTION ONLY AS TO THOSE CLAIMS
YOU ANSWERED “YES” TO IN QUESTION 1 ABOVE — OTHERWISE
DO NOT ANSWER THIS QUESTION. **

QUESTION 2: Invalidity

Did Defendant prove by clear and convincing evidence that ¢ any of the following claims of the
Patents-in-Suit are invalid?

Check “Yes” or “No” for each listed claim in the space provided.
(“Yes” is a finding for Defendant; “No” is a finding for Plaintiffs)

. 7528 Patent, Claim 67

 

 

 

 

 

 

 

 

 

 

Invalid as anticipated in view of prior art: Yes No aa

Invalid as violating the rule against recapture: | Yes No “a

Invalid as violating the original patent requirement: Yes No a
*S00 Patent, Claim 43

Invalid as obvious in view of prior art: Yes No a

Invalid as violating the rule against recapture: Yes No A

Invalid as violating the original patent requirement: Yes No wv
*528 Patent, Claim 5 Yo

Invalid as obvious in view of prior art: Yes __ No

Invalid as violating the original patent requirement: Yes No _. a
°529 Patent, Claim 49

Invalid as obvious in view of prior art: Yes No ia

Invalid as violating the original patent requirement: Yes No KO

 
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*** NOTE: ANSWER QUESTION 3 ONLY IF YOU HAVE FOUND
AT LEAST ONE CLAIM LISTED IN QUESTION 1 INFRINGED AND
FOUND THAT SUCH CLAIM IS NOT INVALID IN QUESTION 2.
OTHERWISE, DO NOT ANSWER THIS NEXT QUESTION, ***

QUESTION 3: Damages

(A) What sum of money, if paid today in cash, have Plaintiffs proven by a preponderance of
the evidence would fairly and reasonably compensate Plaintiffs for damages resulting

from Defendant’s infringement?

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(B) Is this monetary award a lump sum or a running royalty? .
Check one of the following: |
Lump sum:

-OR-

Running royalty: eo
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You have now reached the end of the verdict form and should review it to ensure it accurately
reflects your unanimous determinations. The jury foreperson should then sign and date the verdict
form in the spaces below and notify the Court Security Officer that you have reached a verdict.
The jury foreperson should retain possession of the verdict form and bring it when the jury is

brought back into the courtroom. -

Signed this |Q day of February, 2017.

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Jury Forepeyson

 
